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                                   UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF OKLAHOMA

                                              TRANSMITTAL SHEET
                                             (Notice of Appellate Action)


  Date Notice filed: 11/13/2024

  Style of Case: USA v. Springer et al

  Appellant: Oscar Amos Stilley

  District Court No: 09-cr-00043-SPF-2

  Tenth Circuit Case No: .

  ☐ Amended NOA                                        ☐ Cross Appeal

  ☐ Interlocutory Appeal                               ☐ Successive Petition (2254 or 2255) (no fee)

  Notice of appeal is enclosed to all parties (except to appellant in civil cases); Notice of Appeal,
  docket entries and district court order are enclosed to 10 th Circuit Court of Appeals:

  Stephen P Friot U.S. District Judge:

                               APPEAL FILED BY PRO SE
                               Appeal Fee Paid                                      ☐
                               IFP Granted                                          ☐
                               Motion for IFP on Appeal Form Mailed/Given           ☒
                               Motion for IFP on Appeal Filed                       ☐
                               APPEAL FILED BY COUNSEL
                               Appeal Fee Paid                                      ☐
                               IFP Granted                                          ☐
                               Motion for IFP on Appeal Form Made Available         ☐
                               Motion for IFP on Appeal Filed                       ☐
                               Court Appointed Counsel (CJA/FPD)                    ☐
                               USA                                                  ☐


  By: Cara Becker, Case Administrator                         November 14, 2024 Phone: (918) 699-4700


  Notice of Appellate Action                                                                   AP-01 (6/2022)
